    Case 4:17-cr-00208-JRH-CLR Document 348 Filed 04/26/18 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF GEORGIA


                            SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


                Plaintiff,


                 V.                           4:17CR208-09


EDWARD TYLER,


                Defendant


                                                                         j>on


                                O R D E R




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by-

agreement. Therefore, a hearing in this case is deemed unnecessary.



                              'Tk
     SO ORDERED, this           day of April, 2018.




                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
